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                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

NIGEL THOMAS,
                                                                Case No. 1:17-CV-643
                    Plaintiff,
v.                                                              HON. ROBERT J. JONKER

WINGS TEN, INC., d/b/a
BUFFALO WILD WING,

            Defendant.
__________________________/

             ORDER OF REFERRAL TO STANDARD TRACK CASE EVALUATION

         Pursuant to W.D. Mich. LCivR 16.5(b)(i)(F)(2), this matter is hereby submitted to standard

track case evaluation. The procedures are set forth in Local Civil Rule 16.5 and the Case Evaluation

Program Description.1

         IT IS ORDERED that:

         1. The case evaluation panel shall be selected by the ADR Administrator as set forth in W.D.

Mich. LCivR 16.5(b)(i)(A) with notice to plaintiff’s counsel.

         2. Plaintiff’s counsel shall coordinate a specific date, time, and place for the case evaluation.

The date set shall be no later than March 26, 2018. Plaintiff’s counsel shall file with the ADR

Administrator2 and serve upon all parties the notice of hearing.

         3. Within ten (10) calendar days after the mailing of the notice of the date of the hearing,

each plaintiff and each defendant shall pay each case evaluator the sum of Two Hundred ($200.00)

Dollars as set forth in W.D. Mich. LCivR 16.5(b(i)(B).


         1
             Available on the court's website at www.miwd.uscourts.gov.
         2
          ADR Administrator, 399 Federal Bldg., 110 Michigan St., NE, Grand Rapids, MI 49503; 616.456.2381;
or email at: adr@miwd.uscourts.gov.
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       4. At least fourteen (14) days prior to the date of the hearing, all documents on questions of

liability and damages shall be submitted to each case evaluator and to opposing counsel, with proof

of service to the ADR Administrator. Failure to submit the documents or the proof of service within

the time designated shall result in costs of One Hundred Fifty ($150.00) Dollars being assessed,

payable by separate checks in the amount of Fifty ($50.00) Dollars to each of the attorneys on the

panel to be submitted with each brief. The proof of service shall include a statement that costs of

Fifty ($50.00) Dollars per case evaluator were delivered to each case evaluator with the brief.

       5. The panel's evaluation, which shall include all fees, costs and interest, shall be submitted

in writing to counsel for each party at the close of the hearing. The original evaluation shall be

forwarded to the ADR Administrator. This document may not be electronically filed. If the

evaluation is not unanimous, the evaluation shall so indicate. Mich. Comp. Laws § 600.4963(1).

       6. Written acceptance or rejection of the panel's evaluation shall be submitted to the ADR

Administrator within 28 days after service of the panel's evaluation. There shall be no disclosure of

a party's acceptance or rejection until expiration of the 28 days or until all parties have responded

with an acceptance or rejection. Upon receipt of responses from all parties, the ADR Administrator

shall send a notice indicating each counsel's acceptance or rejection of the evaluation. The failure

of a party to file a written acceptance or rejection within twenty-eight (28) days constitutes a

rejection. If the evaluation is rejected, it shall be sealed and shall be exempt from W.D. Mich.

LCivR 10.6(c).

       7. If the panel's evaluation is accepted in writing by all parties, judgment will be entered in

accordance with the evaluation unless the amount of the award is paid within 28 days after

notification of the acceptances, in which case the court will dismiss the case with prejudice.
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        8. If any party rejects the panel's evaluation, this case shall be ready to proceed to trial on

September 11, 2018.

        9. Adjournment of a case evaluation hearing may be had only by unanimous stipulation.

        10. Pursuant to Fed. R. Evid. 408, all information disclosed during the case evaluation

hearing, including the conduct and demeanor of the parties and their counsel during the proceedings,

shall remain confidential, and shall not be disclosed to any other party nor to this court, without

consent of the party disclosing the information. The Case Evaluators shall not be called as witnesses

nor may the Case Evaluators’ records be subpoenaed or used as evidence.

        All parties to this action are notified that all phases of case evaluation will proceed in

accordance with W.D. Mich. LCivR 16.5 unless those procedures are modified by order of the court

on motion of a party for good cause shown, or by motion of the court. If any such modification is

ordered, all parties shall receive notice of that modification.



Date:    September 27, 2017                    /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
